 

1 8 2007 UNITED STATES DISTRICT COURT

JAN a7

JAN | ¢ 20 NORTHERN DISTRICT OF ILLINOIS
W. OOBBINA ot EASTERN DIVISION

 

SECURITIES AND EXCHANGE COMMISSION,
Plaintiff,
Vv.

JOHN M. FIFE and
CLARION MANAGEMENT, LLC,

Defendants.

u

Cc
Oo
G)
mi

 

COMPLAINT

Plaintiff, the United States Securities and Exchange Commission (“SEC”), alleges the

following:
NATURE OF THE ACTION

l. In 2002 and 2003, defendants John M. Fife (“Fife”) and Clarion Management,
LLC (“Clarion Management”) (collectively, “Defendants”) engaged in a fraudulent scheme to
purchase variable annuity contracts issued by the Lincoln National Life Insurance Company
(“Lincoln”) in order to engage in “market timing” in mutual funds for the benefit of Clarion
Capital, LP (“Clarion Capital”). Clarion Capital was a Chicago-based hedge fund formed by
Fife for the express purpose of engaging in market timing through the purchase of variable
annuity contracts. Fife controlled Clarion Capital and carried out the scheme through Clarion
Management, the hedge fund’s general partner and unregistered investment adviser.

2. Knowing that Lincoln’s variable annuity contracts were not intended for

professional market timers and that Lincoln monitored activity in these contracts to restrict

 
 

a ee ————

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 2 of 34 PagelD #:2

excessive trading and took steps to prevent professional market timers from obtaining contracts,
Defendants engaged in a deceptive scheme using nominee trusts and other deceptive tactics to
purchase dozens of contracts and engage in hundreds of market timing trades for the benefit of
Clarion Capital.

3. To accomplish their scheme, Defendants first created dozens of phony family
trusts that were in fact wholly owned by and for the benefit of Clarion Capital and controlled by
Clarion Capital through its adviser, Clarion Management. Defendants then purchased the
variable annuity contracts, which were both funded by and for the benefit of Clarion Capital, in
the names of these nominee trusts to hide Clarion Capital’s financial interest in all of the
contracts.

4, After obtaining each contract, Defendants engaged in market timing activity in the
mutual funds offered through the variable annuity contracts until they exceeded the level of
transfer activity permitted by Lincoln for individual contracts, at which time Lincoln restricted
Defendants from further market timing activity in each such contract by requiring them to submit
future transfer requests in such contract by U.S. Mail. Lincoln’s general practice was to restrict
contracts that exceeded 24 transfers (12 round-trips) per year.

5. By August 2002, when Lincoln began restricting some of these contracts due to
excessive transfer activity, Defendants had invested more than $10 million of Clarion Capital's
funds for market timing activity at Lincoln through 17 separate contracts held in the name of
different family trusts.

6. When Lincoln restricted a particular contract purchased by Defendant for Clarion
Capital though a nominee trust, Defendants engaged in further deceptive conduct to put Clarion

Capital’s money back to work, circumventing Lincoln’s efforts to restrict market timing by
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 3 of 34 PagelD #:3

withdrawing most or all of the funds in such contract, and then using different nominee trusts to
purchase more contracts and engage in more market timing, again using Clarion Capital funds
and again for the benefit of Clarion Capital.

7. On or around November 25, 2002, after Lincoln detected some common patterns
in Defendants’ market timing scheme, including the fact that all of the trusts through which
Defendants were purchasing the contracts designated Clarion Management as their trustee,
Lincoln informed Defendants that it would block the purchase of any new contracts where,
among other things, Clarion Management was the trustee.

8. Rather than ceasing their market timing activities, Defendants applied additional
layers of deception to evade Lincoln’s restrictions. After receiving the November 25 letter,
Defendants again purchased a dozen additional contracts for the benefit of Clarion Capital in the
name of new nominee trusts owned and controlled by Clarion Capital. In addition, in order to
circumvent Lincoln’s additional restriction concerning Clarion Management, Defendants created
and used new nominee trustees, wholly owned and controlled by Clarion Management, in
comection with the purchase of additional contracts, in order to conceal Clarion Management’s
control over the new trusts and continuing role in the scheme.

9. During the scheme, Defendants engaged in numerous additional deceptive
practices in connection with the purchase of variable annuity contracts from Lincoln in order to
conceal Clarion Capital’s common ownership of and interest in the annuity contracts and its
professional market timing activities through these contracts. These additional deceptive
practices included, among other things: (a) obtaining and providing to Lincoln separate tax
identification numbers for each trust to suggest, falsely, that the annuity contracts really were for

the benefit of separate, unrelated family trusts; (b) using seven different brokers through whom
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 4 of 34 PagelD #:4

Defendants purchased the contracts in order to diffuse attention; (c) falsely representing to at
least one broker that the family trusts were owned by wealthy families; (d) designating different
contact addresses on some of the later contracts to make the contracts appear unrelated to Clarion
Management; (e) providing Lincoln, for some applications, with selective, incomplete and
misleading portions of trust documents falsely suggesting that the trusts were for the sole benefit
of natura! persons; and (f) in some cases, purchasing contracts with a relatively modest initial
investment amounts (under $50,000) to avoid any increased scrutiny that might arise from larger
contracts, and then after the contracts were approved, investing hundreds of thousands of dollars
more of Clarion Capital funds into the contracts to be used for market timing.

10. Defendants’ deceptive conduct throughout the scheme was intended to and had
the effect of frustrating Lincoln’s efforts to police against market timing, circumventing the
specific restrictions that Lincoln specifically imposed in connection with the contracts that
Defendants caused to be purchased for Clarion Capital’s benefit, and concealing Clarion
Capital’s identity and professional market timing activity.

11. Ultimately, Lincoln was able to detect and block Defendants from obtaining new
contracts, but not before Defendants had purchased 39 variable annuity contracts from Lincoln,
through which Defendants applied millions of dollars of Clarion Capital’s funds for market
timing activity. During the period of the scheme, Defendants were able to engage in more than
900 market timing transfers (450 “round-trips”) for the benefit of Clarion Capital, through their
use of nominee trusts, trustees, and various other deceptive means.

12. During the period of the scheme, Defendants made hundreds of thousands of
dollars in profits for Clarion Capital and themselves from engaging in market timing in the

mutual funds offered through Lincoln’s variable annuity products. These profits came at the
 

nee i eevee

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 5 of 34 PagelD #:5

expense of other mutual fund shareholders, the mutual funds and Lincoln, which was forced to
expend resources to detect and put a stop to Defendants’ market timing scheme.

13. Through the activities alleged in this Complaint, Fife and Clarion Management
violated Section 10(b) of the Securities Exchange Act of 1934 (“Exchange Act”) and Rule 10b-5
thereunder. As relief, the SEC seeks: (a) a finding that Fife and Clarion Management violated
Section 10(b) of the Exchange Act and Rule 10b-5 thereunder; (b) a finding that Fife was a
control person of Clarion Management for the purposes of Section 20(a) of the Exchange Act;
(c) the entry of orders of permanent injunction against Fife and Clarion Management prohibiting
them from engaging in future violations of Section 10(b) of the Exchange Act and Rule 10b-5
thereunder; (d) ancillary relief in the form of disgorgement of ill-gotten gains against Fife and
Clarion Management, with prejudgment interest; and (e) the imposition of a civil monetary
penalty against Fife.

JURISDICTION AND VENUE

14. This Court has jurisdiction over this action pursuant to Sections 21 and 27 of the
Exchange Act [15 U.S.C. §§ 78u and 78aa].

15. Venue is proper in this district because many of the acts and transactions alleged
in this Complaint occurred in this district, and also because Defendant Fife resides in the district
and Defendant Clarion Management’s principal place of business is located in this district.

16. | The Commission seeks a permanent injunction, disgorgement of ill-gotten gains
and the imposition of a civil penalty pursuant to Section 21(d) of the Exchange Act. [15 U.S.C.
§78u(d)].

17. Defendants, directly or indirectly, made use of the mails and means of

instrumentalities of interstate commerce in connection with the transactions, acts, practices, and
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 6 of 34 PagelD #:6

courses of business alleged herein.
DEFENDANTS

18, John M. Fife, age 46, is a resident of Chicago, Illinois. At all relevant times, Fife
controlled Clarion Capital through its general partner and unregistered investment adviser,
Clarion Management.

19. Clarion Management, LLC is an Illinois limited liability company organized in
January 2001. At all relevant times, Clarion Management acted as the general partner and
unregistered investment adviser to Clarion Capital. At all relevant times, Clarion Management
was wholly owned by Clarion, Inc., which was wholly owned by Fife.

20. At all relevant times, Fife controlled Clarion Management. At all relevant times,
Fife had the authority to exercise control and did exercise control over Clarion Management in
all aspects of Clarion Management’s activities, including: (a) the purchase and surrender of
variable annuity contracts; (b) all investment strategy and transfer activity in the variable annuity
contracts purchased for the benefit of Clarion Capital; (c) all market timing activity, (d) the
creation of trusts, limited liability companies and trustees associated with Clarion Management
or Clarion Capital; (e) the creation and implementation of Clarion Capital’s investment strategy,
(f) the actions of all persons employed by Wacker Services Corporation, an affiliated entity, who
performed services for Clarion Management; and (g) the designations of contract owners,
annuitants, beneficiaries and trustees in applications submitted in connection with the purchase

of variable annuity contracts from Lincoln for the benefit of Clarion Capital.
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 7 of 34 PagelD #:7

THE FRAUDULENT SCHEME
Background
Market Timing

21. Market timing refers to the practice of short-term buying and selling of shares of
the same mutual fund in order to exploit inefficiencies in mutual fund pricing.

22. In this case, Defendants sought to engage in market timing in mutual funds
comprised of equity securities traded on overseas exchanges in Europe and Asia.

23. Market timing in such international mutual funds seeks to exploit the fact that the
prices set by such funds for overseas equity securities in their portfolios reflects the closing
prices on the foreign exchange where the foreign securities are listed. These foreign exchanges
close hours before the U.S. national exchanges and securities markets (“U.S. markets”).
Consequently, the prices used for valuing the foreign securities in international mutual funds
may not reflect changes in the global markets that occurred after the close of the foreign
exchange but before the close of the U.S. markets. Market timing seeks to take advantage of this
stale pricing of foreign securities in the portfolios of international mutual funds.

24, Most market timing purchases are followed by redemptions the next business day
or shortly thereafter, in order to lock in the gain from the pricing inefficiencies. Each market
timing purchase followed closely thereafter by a redemption is commonly referred to in the
securities industry as a “round-trip.”

25. Market timing, while not illegal per se, can adversely affect mutual fund
shareholders because profits that a market timer takes can dilute the value of the shares held by
long-term shareholders. In addition, the frequent in-and-out trading necessary for market timing

activity disrupts portfolio management, increases trading costs (which all shareholders bear), and
 

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 8 of 34 PagelD #:8

may cause the mutual fund to realize capital gains at inopportune times.

26. As a consequence, many mutual funds are averse to market timing and typically
prohibit market timing altogether or impose limitations on the frequency of trades in order to
limit market timing.

Clarion Capital, LP

27. In January 2001, Fife formed Clarion Capital as an Illinois limited partnership for
the express purpose of engaging in market timing in international mutual funds.

28. Clarion Capital operated as a hedge fund, raising money from multiple wealthy
investors through a private placement offering.

29. In the private placement memorandum provided to its investors, Clarion Capital
identified Clarion Management as its general partner, and disclosed that Clarion Management
was responsible for devising and implementing Clarion Capital’s market timing strategy. The
private placement memorandum also disclosed that Fife was a principal of Clarion, Inc. and that
Clarion, Inc. was the manager and sole owner of Clarion Management.

30. In its private placement memorandum, Clarion Capital acknowledged that most
international mutual funds did not permit market timing by ordinary investors. Clarion Capital
informed investors that, because of this, it would be engaging in market timing in international
mutual funds indirectly, through variable annuity products offered by insurance companies.
Clarion Capital explained that the reason for this was that most international mutual funds
permitted ongoing sales and redemptions of international mutual funds by insurance companies,
as opposed to ordinary investors, due to the insurance companies’ need to continually purchase
and redeem their shares in these international mutual funds to accommodate the investment

decisions of the thousands of individual investors who have invested their funds in the insurance
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 9 of 34 PagelD #:9

companies’ financial products.

31. Clarion Capital acknowledged in its private placement memorandum that some of
the insurance companies that sell variable annuity contracts might impose their own restrictions
on trading in the event that Clarion Capital was deemed to be engaged in excessive trading
through the variable annuities.

32. | Consequently, and as stated in the private placement memorandum, it was also
Clarion Capital’s express intention not to acquire these variable annuity contracts directly, but
instead to acquire them through wholly-owned limited liability companies.

33. The private placement memorandum warmed investors that the opportunity to
engage in market timing in variable annuity contracts might be limited by future regulatory
action because market timing “can be seen as effectively diluting the interests” of other
shareholders.

34. Lincoln was one of the insurance companies through whom Defendants pursued
their market timing strategy on behalf of Clarion Capital.

35. As the general partner for Clarion Capital, Clarion Management operated ail
aspects of the partnership, including carrying out the market timing investment strategy. For
these services, Clarion Management charged Clarion Capital an annual management fee of 2% of
assets under management and a monthly performance-based fee of 20% of the profits from
trading.

36. — Atall relevant times, the offices of Clarion Capital and Clarion Management were
located at 303 East Wacker Drive, Suite 311, Chicago, Illinois 60601.

37. Fife dissolved Clarion Capital in November 2003.
 

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 10 of 34 PagelD #:10

Lincoln National Life Insurance Company

38. Lincoln is an insurance company based in Fort Wayne, Indiana.

39, At all relevant times, Lincoln offered various variable annuity products among its
financial products.

40. Variable annuities are securities contracts offered by insurance companies as a
long-term savings vehicle. In a variable annuity contract, the insurance company agrees to make
periodic payments to the annuitant, beginning immediately or at some future date, typically
retirement. Variable annuities are purchased by a contract owner, who is the person with the
ability to exercise the rights within the contact, including making investment allocations,
selecting payout options, and designating the annuitant and the beneficiary. At the time of
purchase, the purchaser identifies the following: the contract owner, who has the ability to
exercise the rights within the contract; the annuitant, who is the person upon whose life the
annuity benefit payments are made; and the beneficiary, who is to receive any death benefit paid
if the annuitant dies before the annuity commencement period. Usually, but not always, the
contract owner of a variable annuity is also the annuitant.

41. Variable annuity contracts, including the contracts at issue in this lawsuit, permit
the contract owner to withdraw funds from, or surrender the contract prior to, the annuity
commencement period. In such cases, the funds are returned to the contract owner or to a
beneficiary or account designated by the contract owner.

42. During the life of a variable annuity contract, the contract owner may invest the
funds used to purchase the variable annuity in securities offered through the variable annuity.
The securities offered through the variable annuity are typically mutual funds specifically

sponsored by mutual fund complexes for insurance companies and certain tax-qualified

10
 

 

—— ——e

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 11 of 34 PagelD #:11

retirement plans. These mutual funds are not sold directly to the general public, but are often
patterned on, and managed similarly to, retail mutual funds offered by the fund complex.

43. The value of a variable annuity depends on the performance of the investment
options in which the contract owner chooses to invest his or her purchase premiums.

44. Insurance companies, including Lincoln, offer variable annuities through
prospectuses filed with the Commission. The prospectuses set out the costs of the variable
annuity, the mutual funds offered, and the procedures for transferring funds in and out of
different mutual funds offered through the variable annuity product. The prospectuses also
describe the insurance companies’ policies, if any, on market timing.

45. Insurance companies, including Lincoln, typically require contract owners to
purchase variable annuity contracts through an independent broker authorized by the insurance
company.

46. Insurance companies, including Lincoln, deliver the variable annuity prospectuses
to purchasers of variable annuity products along with the prospectuses for the various mutual
funds available for investment.

47. During the relevant period, Lincoin required that all applications for variable
annuity contracts be submitted through an authorized, independent broker. Lincoln permitted
applications to be handwritten or submitted electronically.

48. As part of the application process for such products during the relevant period,
Lincoln required applicants to identify the contract owner, annuitant and beneficiary. Where a
trust was designated as the owner, Lincoln also required the applicant to identify the trustee for
the trust.

49. _ At all relevant times, Lincoln’s variable annuity products offered a range of

tl
1° creer — Se TMH A Ge nee ee eee t mmm ‘= orien rt oe

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 12 of 34 PagelD #:12

investment options to contract owners, including money market instruments and international
mutual funds. Pursuant to the terms of Lincoln’s annuity policies, contract owners did not
purchase or sell shares of mutual funds directly from the mutual funds, but instead placed their
orders with Lincoln, which accepted orders by telephone, internet, fax or U.S. Mail.

50. At all relevant times, Lincoln aggregated and pooled contract owners’ funds into
subaccounts, with each subaccount corresponding to a particular mutual fund that Lincoln
offered through the variable annuity product. Lincoln submitted aggregated orders each day
from each subaccount to each corresponding mutual fund as a single net buy or sell order.
Contract owners invested in and out of mutual funds by transferring all or a portion of their
investment between one subaccount and another.

51. Defendants engaged in market timing for the benefit of Clarion Capital through
Lincoln’s vanable annuities to take advantage of this aggregation of orders. By market timing
through variable annuities, Defendants could hide Clanon Capital’s market timing activities
amidst the orders pooled by Lincoln, thereby avoiding detection by the international mutual
funds.

52. in order to engage in such market timing, however, Defendants and Clarion
Capital needed to evade the efforts of Lincoln to detect and curtail their professional market
timing activity.

53. Virtually all of Defendants’ market timing activity at Lincoln occurred through
the purchase of one particular variable annuity product Lincoln offered: the ChoicePlusII Access
Variable Annuity.

54. For the ChoicePlusiI Access Variable Annuity, Lincoln required each contract

owner to make an initial “purchase payment” of at least $10,000 within two days after Lincoln

12
 

 

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 13 of 34 PagelD #:13

received an application for a contract, and required additional annual purchase payments of at
least $300 per year. Lincoln’s prospectus for the ChoicePlusII Access Variable Annuity
provided that “purchase payments in total may not exceed $2 million without Lincoln Life
approval.”

55. Lincoln’s prospectus for the ChoicePlusII Access Variable Annuity also provided,
in relevant part, that:

Transfers (within and/or between the variable and fixed subaccounts) are limited
to twelve (12) per contract year unless otherwise authorized by Lincoln Life.

This contract is not designed for professional market timing organizations or other
entities using programmed and frequent transfers.

Repeated patterns of frequent transfers are disruptive to the operation of the sub-
accounts, and should Lincoln Life become aware of such disruptive practices,
Lincoln Life may refuse to permit such transfers.

56. During the relevant period, as part of its efforts to police and restrict market
timing, it was Lincoln’s general practice to limit contract owners to 24 transfers per year, after
which Lincoln required contract owners to submit any additional transfer requests by U.S. mail
(rather than by telephone, fax or internet), thereby rendering it virtually impossible to engage in
further market timing through that contract since the restricted owners would no longer be able
to exploit same-day pricing inefficiencies in the international mutual funds.

57. At all relevant times, Lincoln enforced these restrictions through internal
operating systems that only processed transfers actually submitted by U.S. mail for such
restricted contracts.

58. During the relevant period, Lincoln also monitored variable annuity contracts and

transfer activity to detect patterns of frequent transfers and block professional market timers who

used multiple accounts to circumvent Lincoln’s transfer limits.

13
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 14 of 34 PagelD #:14

Defendants’ Deceptive Scheme
Overview of Scheme

59. Defendants’ deceptive scheme began in 2002, prior to purchasing any annuity
contracts from Lincoln. During this time, Defendants’ caused the creation of dozens of nominee
trusts and limited liability companies, secretly owned and controlled by Clarion Capital.
Defendants subsequently caused these trusts and limited liability companies to be used as
nominee owners and beneficiaries in the contracts Defendants caused to be purchased from
Lincoln, in order to conceal Clarion Capital’s professional market timing activity.

60. Defendants caused the creation of at least 17 of these trusts, which Defendants
misleadingly characterized as family trusts. Defendants used fictitious family names for the
trusts, one for each letter of the alphabet. These names included Austin, Brady, Cooper, Davis,
Ellis, Good, Hunt, Ivy, Jasper, Kane, Lewis, Mead, Neil, Oak, Post, Queen and Ross.

61. Each family trust identified a “Participant Beneficiary,” which, according to the
terms of each trust, was to receive 100% of all trust distributions after payment of fees and
expenses to the trustee for the trust.

62. Defendants caused various limited liability companies to be created for the
purpose of acting as the nominal Participant Beneficiary for each trust, in order to mask Clarion
Capital’s financial interest in the trusts. In truth, these limited liability corporations were wholly
owned and controlled by Clarion Capital, pursuant to operating agreements prepared at the
direction of Defendants. Defendants used an alphabetical naming system for these shell
companies, using names such as Alta Scholarship Fund, LLC, Branberry Associates, LLC,
Cypress Associates, LLC, Draper Family Partners, LLC, and Eisenhower Family Partners, LLC.

63. Fife signed each trust agreement on behalf of both Clarion Management and the

14
 

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 15 of 34 PagelD #:15

Participant Beneficiary.

64, Fife also signed each of the Participant Beneficiaries’ operating agreements on
behalf of the Participant Beneficiary, Clarion Capital, and Clarion Management.

65. Each of the family trusts designated Clarion Management as trustee. Under the
terms of the trust agreements, Clarion Management was empowered and authorized to make all
decisions and take all actions on behalf of the trusts.

Phase I of the Scheme: May 2002 through August 28, 2002

66. In May 2002, Defendants began purchasing, either directly or through persons
and entities under their control, variable annuity contracts from Lincoln for the benefit of Clarion
Capital.

67. During the period from May 2002 through August 28, 2002, Defendants caused at
least 17 variable annuity contracts to be purchased from Lincoln for the purpose of engaging in
market timing activity for the benefit of Clarion Capital.

68. At the time that they caused these purchases, Defendants knew or were reckless in
not knowing that Lincoln’s variable annuity products were not intended for professional market
timers such as Clarion Capital.

69. In connection with their purchase of variable annuity contracts from Lincoln,
Defendants disguised and concealed Clarion Capital’s common financial interest in each of these
contracts.

70. Defendants accomplished this deception by causing each contract to designate one
of the family trusts as the nominal owner and to designate either the family trust or the
Participant Beneficiary named in the trust document as the beneficiary.

71. None of the applications that Defendants caused to be submitted identified

15
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 16 of 34 PagelD #:16

Clarion Capital or disclosed that all the contracts were being purchased using Clarion Capital’s
funds and were for the benefit of Clarion Capital.

72. Defendants did not disclose to Lincoln in connection with their purchases of any
variable annuity contracts from Lincoln that Defendants were professional market timers who
were purchasing the contracts from Lincoln solely for the purpose of engaging in market timing
on behalf of a single hedge fund, Clarion Capital.

73. The disclosures that Defendants caused to be made to Lincoln in connection with
the purchases of variable annuity products were intended to and had the effect of disguising
Clarion Capital’s role and common financial interest in all of the contracts.

74. By dividing Clarion Capital’s investments into multiple contracts owned by
nominee family trusts, Defendants deceptively concealed from Lincoln both the fact and extent
of Clarion Capital’s market timing activity.

75, To further give the appearance that the trusts were legitimate and that the various
nominal contract owners and beneficiaries that Defendants designated in the various contracts
they caused to be purchased were unrelated, Defendants caused each of the trusts to obtain its
own tax identification number, which Defendants caused to be disclosed in connection with each
application.

76. Although it was not identified as a contract owner, beneficiary or annuitant in any
of the contracts, Clarion Capital funded each of the contracts and derived the primary benefit
from the market timing activity that Defendants engaged in through each contract.

77. Set forth below is a chart identifying and providing some of the details concerning
each of the deceptive applications that Defendants caused to be submitted during Phase | of the

scheme. The chart indicates whether the application was handwritten or electronic, and shows

16
 

TE 001 eee le

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 17 of 34 PagelD #:17

the date of application and effective date of the contract, the contract number, and the names of

the nominal owner and beneficiary designated in the application.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date of
Application / Contract Owner Beneficiary
Ref. Form of Effective Date of Identified on Identified on
No. Application Contract Contract No. Application Application
1. | Handwritten 5/2/2002 XX-XXXXXXX Neil Family Trust Neil Family
5/6/2002 Trust
2. | Handwritten $/2/2002 XX-XXXXXXX Lewis Family Trust Lewis Family
5/6/2002 Trust
3. | Handwritten §/2/2002 XX-XXXXXXX Mead Family Trust Mead Family
5/6/2002 Trust
4, | Handwritten 6/19/2002 XX-XXXXXXX Austin Family Trust Austin Family
6/20/2002 Trust
5. | Handwritten 6/19/2002 XX-XXXXXXX Cooper Family Trust Cooper Family
6/20/2002 Trust
6. | Handwritten 6/19/2002 XX-XXXXXXX Ellis Family Trust Ellis Family
6/20/2002 Trust
7. | Handwritten 7/9/2002 XX-XXXXXXX Jasper Family Trust Eisenhower
7/10/2002 Family Partners,
LLC
8. | Handwritten 7/9/2002 XX-XXXXXXX Ross Family Trust Ross Family
7/10/2002 Trust
9. | Handwritten 7/19/2002 XX-XXXXXXX Good Family Trust Branberry
7/22/2002 Associates, LLC
10. | Handwritten 7/19/2002 XX-XXXXXXX Hunt Family Trust Cypress
7/22/2002 Associates, LLC
11. | Handwritten 7/24/2002 XX-XXXXXXX Queen Family Trust Queen Family
7/25/2002 Trust
12. | Handwritten 7/24/2002 XX-XXXXXXX Brady Family Trust Brady Family
7/25/2005 Trust
13. | Handwritten 7/24/2002 XX-XXXXXXX Davis Family Trust Davis Family
7/25/2002 Trust
14.) Electronic 8/19/2002 XX-XXXXXXX Post Family Trust Alta Family
8/27/2002 Scholarship
Fund
15. | Electronic 8/19/2002 XX-XXXXXXX Oak Family Trust Eisenhower
8/27/2002 Family Partners,
LLC
16. | Electronic 8/19/2002 XX-XXXXXXX Eilis Family Trust Eisenhower
8/27/2002 Family Partners,
LLC
17. | Electronic 8/19/2002 92-9803 104 Ross Family Trust Cypress
8/27/2002 Associates, LLC
78. Defendants caused Fife or Clarion Management or both to be listed as the

trustee(s) on the applications for each of the family trusts in whose name the contracts were

purchased.

17

 
 

—_ ——e—

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 18 of 34 PagelD #:18

79. Defendants used the business address of Clarion Management as the address for
each contract: 303 East Wacker Drive, Suite 311, Chicago, Illinois 60601.

80. Defendants caused the applications for these contracts to designate as annuitants
for the contracts relatives of Fife, Fife himself or employees of an affiliated entity, Wacker
Services Corporation.

81. During this first phase of the scheme, Fife prepared and signed most of the
handwritten applications himself; others were submitted electronically by the broker who
received information from Defendants, directly or indirectly, designating the nominal owner,
beneficiary, annuitant and trustee for each contract.

82. For each of the applications submitted electronically, Fife received from Lincoln
and signed a document verifying the accuracy of the information contained in the electronic
applications. Fife also signed verifications for at least some, if not all, of the handwritten
applications.

83. During Phase | of the scheme, at least one broker, Jason Slezak, asked Fife about
the source of the money for the contracts Fife was causing to be purchased at Lincoln. Fife, in
furtherance of his deceptive scheme, falsely informed Slezak that he was investing money on
behalf the wealthy families whose names appeared in the title of the trusts that were designated
as contract owners for the variable annuity contracts.

84. Defendants engaged in market timing for the benefit of Clarion Capital, using
Clarion Capital’s funds, in all of the variable annuity contracts identified in this Complaint that
Defendants caused to be purchased from Lincoln.

85. By late August 2002, more than $10 million of Clarion Capital’s funds were

invested in Lincoln’s variable annuities at the same time and engaged in market timing activity

18
 

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 19 of 34 PagelD #:19

through 17 separate contracts held by nominee trusts. By dividing Clarion Capital’s investment
among these 17 contracts, Defendants circumvented Lincoln’s $2 million monetary limit on
purchase payments for individual contracts absent its approval. By engaging in market timing
through 17 nominee trusts, Clarion Capital was able to make dozens of market timing trades for
the benefit of Clarion Capital while concealing Clarion Capital’s common financial interest in all
of the market timing activity.

86. By late August 2002, Defendants had caused more than 24 transfers to occur in at
least the first two contracts they purchased, through the Neil Family Trust and the Lewis Family
Trust.

87. Lincoln, through its monitoring practices, identified these two contracts as having
exceeded the allowable number of trades.

88. Consequently, and in accordance with its market timing policing practices,
Lincoln sent restriction letters to the Neil Family and Lewis Family trusts in late August 2002,
stating that the transfer activity in the accounts was excessive and disruptive to the operations of
the funds, and notifying the trusts that Lincoln was restricting them from engaging in further
market timing activity by requiring future transfer requests in these contracts to be submitted by
U.S. mail.

89. The restriction letters, addressed to the family trusts, were sent to Clarion
Management’s offices at 303 East Wacker Drive, Suite 311 in Chicago, which is the address
provided by Defendants for each of the contracts.

90. Lincoln also sent copies of the letters to the broker through whom Defendants
purchased the variable annuities for the benefit of Clarion Capital. The broker forwarded the

letters to Defendants.

19
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 20 of 34 PagelD #:20

91. Through their receipt of these letters, Fife and Clarion Management were aware
that Lincoln was restricting further market timing activity in these two contracts, and was also
aware that Lincoln objected to the volume and frequency of Defendants’ market timing activity
in these two contracts.

Phase 2 of the Scheme: August 29, 2002 through November 25, 2002

92. Notwithstanding the restriction letters, Defendants continued to engage in
deceptive conduct as part of their scheme to market time in Lincoln variable annuities for the
benefit of Clarion Capital.

93. Even after receiving the restriction letters on or around August 29, 2002, and even
though all of the contracts, including the two restricted ones, were for the benefit of a single
hedge fund, Defendants continued their market timing activity in their other contracts for the
benefit of Clarion Capital.

94. As aresult of Defendants’ deception, Lincoln was not aware that these other
contracts, like the two restricted ones, were all for the benefit of the same entity: Clarion
Capital.

95, As these other contracts reached 24 transfers, Lincoln restricted them, too, and
sent restriction letters to the trusts and the brokers through whom the contracts were purchased.

96. In response to the restriction letters from Lincoln, Defendants caused the trusts to
withdraw all or most of the funds in the restricted contracts. Defendants then reinvested Clarion
Capital’s funds in new contracts, in the name of different trusts, again to mask Clarion Capital’s
continuing professional market timing activity.

97. From August 29, 2002 through mid-November 2002, Defendants caused the

purchase of 10 more variable annuity contracts from Lincoln for the benefit of Clarion Capital,

20
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 21 of 34 PagelD #:21

again using nominee owners and beneficiaries in order to mask Clarion Capital’s common
ownership of and financial interest in all of these contracts.

98. For two of the contracts, Defendants used revocable trusts (as opposed to the
family trusts) as the nominee owners. These revocable trusts — the Dover Revocable Trust and
the Burke Revocable Trust — also masked Clarion Capital’s financial interest by using limited
liability companies, secretly owned and controlled by Clarion Capital, as Participant
Beneficiaries. As discussed in the allegations relating to Phase 3 of the scheme, the revocable
trusts contained additional deceptive elements that figured more prominently during that phase.

99. None of the applications that Defendants caused to be submitted during Phase 2
of the scheme identified that Clarion Capital funded each contract and that each contract was
funded by and for the benefit of Clarion Capital.

100. None of the applications that Defendants caused to be submitted during Phase 2
disclosed to Lincoln that Defendants were professional! market timers who were purchasing
annuities for the purpose of engaging in market timing on behalf of a single hedge fund.

101. Set forth below is a chart identifying and providing some of the details concerning
each of the applications that Defendants caused to be submitted during Phase 2 of the scheme.
The chart indicates whether the application was handwritten or electronic, and shows the date of
application and effective date of the contract, the contract number, and the name of the nominal

contract owner and beneficiary designated in the application.

21
 

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 22 of 34 PagelD #:22

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date of
Application /
Effective Contract Owner
Form of Date of Contract Identified on Beneficiary Identified on
Ref. No. | Application Contract No. Application Application

18. Electronic 10/3/2002 XX-XXXXXXX | Cooper Family Trust Cypress Associates, LLC
10/4/2002

19. Handwritten 10/9/2002 XX-XXXXXXX | Ross Family Trust Cypress Associates, LLC
10/22/2002

20. Handwritten 10/9/2002 XX-XXXXXXX | Neil Family Trust Draper Family Partners,
10/22/2002 LLC

21. Electronic 10/23/2002 | XX-XXXXXXX | Oak Family Trust Eisenhower Family Partners,
10/24/2002 LLC

22. Electronic 10/23/2002 | XX-XXXXXXX | Ross Family Trust Cypress Associates, LLC
10/24/2002

23, Electronic 10/23/2002 | XX-XXXXXXX | Post Family Trust Alta Scholarship Fund, LLC
10/24/2002

24, Electronic 10/30/2002 | XX-XXXXXXX | Dover Revocable Trust Draper Family Partners,
10/31/2002 LLC

25, Electronic 10/30/2002 | XX-XXXXXXX | Burke Revocable Trust Branberry Associates, LLC
10/31/2002

26. Electronic 11/8/2002 XX-XXXXXXX | Jasper Family Trust Eisenhower Family Partners,
11/13/2002 LLC

27. Electronic 11/7/2002 XX-XXXXXXX | Kane Family Trust Alta Scholarship Fund, LLC
11/13/2002

 

102. Through their deceptive conduct, Defendants were able reinvest in new contracts
Clarion Capital funds that Lincoln had expressly restricted from further market timing activity in
other contracts.

103. In addition to the information provided in the above chart, during Phase 2 of the
scheme Defendants caused Fife or Clarion Management or both to continue to be listed as the
trustee(s) on the applications for each of the family trusts in whose name the contracts were
purchased.

104. During Phase 2 of the scheme, Defendants also caused the applications for these
contracts to continue to designate as annuitants for the contracts relatives of Fife, Fife himself or
employees of an affiliated entity, Wacker Services Corporation.

105. For the two revocable trusts, Defendants listed Wellington Management Services,

LLC (“Wellington Management Services”) as the trustee. As is discussed in more detail in the

22

 
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 23 of 34 PagelD #:23

allegations relating to Phase 3 of the scheme, Wellington Management Services was just a shell
that Defendants caused to be created to conceal the identity of Clarion Management, which
actually controlled and managed the revocable trusts.

106. Defendants continued to use the business address of Clarion Management as the
address for each contract purchased in the name of a family trust: 303 East Wacker Drive, Suite
311, Chicago, Illinois 60601. However, for Wellington Management Services and the revocable
trusts, Defendants used a different mailing address at a shared office space services company in
Chicago. The address was: 401 North Michigan Avenue, Suite 1200-2, Chicago, Illinois 60601.

107. During Phase 2 of the scheme, and as indicated in the above chart, most of the
applications were submitted electronically by the broker, who received information from
Defendants, directly or indirectly, designating the nominal owner, beneficiary, annuitant and
trustee for each contract.

108. Fife prepared and signed the two handwritten applications submitted during
Phase 2 of the scheme.

109. For each of the applications submitted electronically throughout the scheme, Fife
received from Lincoln a document to verify the accuracy of the information contained in the
electronic applications, which Fife signed and returned to Lincoln.

110. As was their practice during Phase | of the scheme, Defendants engaged in
market timing for the benefit of Clarion Capital in each additional variable annuity contract
Defendants caused to be purchased from Lincoln during Phase 2 of the scheme.

111. As of mid-November 2002, and as a result of their deceptive conduct, Defendants
remained actively engaged in market timing in at least 14 Lincoln variable annuity contracts, and

had by this time made hundreds of thousands of dollars in market timing profits for Clarion

23
meme mas A cc —, oe

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 24 of 34 PagelD #:24

Capital through Defendants’ market timing activity in those contracts.

112. Asaresult of their deceptive conduct, Defendants were able to deceive Lincoln
and purchase in Phase 2 all of the contracts listed in the above chart and engage in market timing
through these contracts in the mutual funds offered by Lincoln for the benefit of Clarion Capital.

113. By November 25, 2002, Lincoln had completed an investigation concerning the
pattern of market timing activity in the family trusts utilized by Defendants, which was prompted
by the high volume and frequency of transfers in the contracts held by the trusts. Through this
investigation, Lincoln learned that all of the family trusts shared a common trustee, Clarion
Management, and that all were associated with Fife. Lincoln did not know that the trusts were
owned by Clarion Capital, but had determined that the trusts originated from the same address in
Chicago and that the address was also used by another firm associated with Fife, Chicago
Venture Partners, LP (“Chicago Venture Partners”). Although Chicago Venture Partners was in
reality not associated with any of the family trusts contracts, Lincoln erroneously believed that it
was the source of the contracts.

114. Consequently, on or around November 25, 2002, Lincoln sent a letter to Fife’s
attention stating that it would no longer accept any new business where Clarion Management or
Chicago Venture Partners was the owner or trustee of the contract. In the letter, Lincoln also
identified and restricted a number of existing contracts that Lincoln had linked to Clarion
Management or Chicago Venture Partners, requiring that all future transfers for these contracts
be made by U.S. mail.

115. Defendants received the November 25, 2002 letter, and had notice of the

prohibitions set forth therein.

24
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 25 of 34 PagelD #:25

Phase 3 of the Scheme: November 25 Through November 13, 2003

116. Rather than ceasing all further market timing activity though Lincoln’s annuities
after receiving the November 25 letter, Defendants continued to use deceptive measures to
purchase more variable annuity contracts and engage in market timing for the benefit of Clanon
Capital, creating even more devious schemes to evade Lincoin’s market timing policing efforts.

117. After receiving the November 25 letter, Defendants ceased using the family trusts
as the nominal owners for these new annuity contracts. Defendants did so because the family
trusts designated Clarion Management as their trustee.

118. Instead, Defendants purchased new contracts through various revocable trusts that
concealed Clarion Management’s continuing role in the scheme. These revocable trusts included
the Qwest Revocable Trust, the Jones Revocable Trust, the Harris Revocable Trust, the Fisher
Revocable Trust, the Carter Revocable Trust, the Elfman Revocable Trust, the Irving Revocable
Trust, the Arthur Revocable Trust, the George Revocable Trust, the Kent Revocable Trust, and
the Logan Revocable Trust.

119. Defendants caused all of these trusts to operate pursuant to amended and restated
trust agreements, all of which were dated November 8, 2002.

120. Fife signed each of these amended and restated trust agreements as President of
the limited liability company named as the Participant in the trust and also as President of
Clarion Management.

121.  Incontrast to the family trusts, Defendants caused each of these revocable trusts
to designate a nominee trustee for the trust different in name from Clarion Management. These
nominee trustees included: Hudson Capital Management, LLC; Wellington Management

Services, LLC; Mellon Management, LLC; and Keystone Management Services, LLC.

25
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 26 of 34 PagelD #:26

122. The nominee trustees were simply shell companies used to conceal Clarion
Management’s continuing involvement in the scheme. Each nominee trustee was a limited
hability company that Defendants caused to be created pursuant to an operating agreement that
was dated September 17, 2002. The operating agreements all provided that Clarion Management
solely owned and controlled the timited liability company and that Fife was the company’s
President.

123. Through their deceptive use of these revocable trusts as nominal contract owners,
Defendants were thus able to conceal the continuing role of Clarion Management in the scheme.

124. Between December 16, 2002 and January 15, 2003, Fife and Clarion Management
caused the purchase of 12 more contracts from Lincoln for the benefit of Clarion Capital through
these nominee revocable trusts.

125. The specific information concerning contract owner, trustee and beneficiary that
Defendants caused to be submitted in the applications for each of the contracts purchased during

Phase 3 of the scheme was as follows:

 

 

 

 

 

 

 

Contract
Owner
Date of Application / Identified Trustee Beneficiary
Ref. Form of Effective Date of Contract on Identified on Identified on
No. Application Contract No. Application Application Application
Qwest Hudson Capital
28. | Handwritten 12/10/2002 92- Revocable Management, Qwest Revocable
12/16/2002 9811794 | Trust LLC Trust
Jones Mellon
29. | Electronic 12/13/2002 92- Revocable Management,
12/16/2002 9813608 | Trust LLC Jane Pearson
Harris Mellon
30, | Electronic 12/13/2002 92- Revocable Management,
12/16/2002 9813609 | Trust LLC Kelly Villanti
Fisher Mellon
31. | Electronic 12/13/2002 92- Revocable Management,
12/16/2002 9813610 | Trust LLC Rachel Fife
Carter Wellington
32. | Handwritten 12/17/2002 92- Revocable Management Carter Revocable
12/17/2002 9811915 | Trust Services, LLC Trust

 

 

 

 

 

 

 

26

 
 

Case: 1:07-cv-00347 Document #: 1 Filed:

01/18/07 Page 27 of 34 PagelD #:27

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Elfman Wellington
33. | Electronic 1/15/2003 92- Revocable Management Elfman
1/15/2003 9813621 | Trust Services, LLC Revocable Trust
Jones Mellon
34. | Electronic 1/15/2003 92- Revocable Management, Jones Revocable
1/15/2003 9813622 | Trust LLC Trust
Irving Mellon
35. | Electronic 1/15/2003 92- Revocable Management, Irving Revocable
1/15/2003 9813623 | Trust LLC Trust
Arthur Wellington
36 | Electronic 1/15/2003 92- Revocable Management Arthur Revocable
1/15/2003 9813624 | Trust Services, LLC Trust
George Melion
37. | Electronic 1/15/2003 92- Revocable Management, George
1/15/2003 9813625 | Trust LLC Revocable Trust
Kent Keystone
38. | Electronic 1/15/2003 92- Revocable Management Kent Revocable
1/15/2003 9813626 | Trust Service, LLC Trust
Logan Keystone
39. | Electronic 1/15/2003 92- Revocable Management Logan Revocable
1/15/2003 9813627 | Trust Service, LLC Trust

 

126. As part of their added deception during Phase 3 of the scheme, Defendants

designated on these applications new mailing addresses and drop boxes in Chicago for all of the

nominal trustees and contract owners in order to make them appear to be unrelated to Clarion

Management. On approximately a weekly basis during Phase 3 of the scheme, mail received for

the four new companies was forwarded to Clarion Capital’s offices at 303 East Wacker Drive.

127. Also as part of the scheme, Fife also no longer signed the handwritten

applications or contract verifications, causing and directing someone else to sign them.

128. Through their deceptive actions to mask Clarion Capital’s financial interest in all

of these contracts and conceal Clarion Management’s control over the nominal trustees

designated in the contract applications submitted during Phase 3 of the scheme, Defendants were

able to purchase these additional contracts and engage in additional market timing on behalf of

Clarion Capital.

129, Asan additional and new component of their deception during Phase 3 of the

scheme, Defendants provided, directly or indirectly, incomplete and misleading documentation

27

 
 

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 28 of 34 PagelD #:28

to Lincoln concerning the trust agreements for the revocable trusts to falsely suggest that a
natural person was the beneficiary of the trusts.

130. Defendants engaged in this additional deception because they had become aware
that Lincoln and other insurance companies were subjecting to greater scrutiny contract
applications that designated limited liability corporations as trustees.

131. Defendants were also aware that Lincoln sometimes required variable annuity
contract applicants who were trusts to submit the trust agreement to verify the identity of the
beneficiary of the trust.

132. Defendants were additionally aware that Lincoln sometimes required them to
provide documentation concerning the trusts, including the signature page of the trust, and that
the trust agreements for the family trusts that Defendants had been using in the scheme listed
limited liability companies on the signature page as the Participant Beneficiary.

133. Part of the Defendants’ purpose in creating the revocable trusts and designating
them as owners of the variable annuity contracts was to permit Defendants to show to Lincoln, if
needed, a trust beneficiary who was a real person.

134. To accomplish this, Defendants caused the amended and restated trust agreements
to create two different nominal beneficiaries: labeling them a “Participant” and an “Individual
Beneficiary.”

135. As with the “Participant Beneficiaries” designated in the prior family trusts,
Defendants caused the Participant for each revocable trust to be a limited liability company
wholly owned by Clarion Capital.

136. Rather than vesting the Participant with a 100% interest in the distributions from

the trust as was the case with the family trusts, Defendants instead caused the Participant’s

28
 

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 29 of 34 PagelD #:29

interest in the revocable trusts, net of the trustees’ fees and expenses, to be reduced slightly, to
99.9%,

137. Defendants caused the revocable trusts to provide that the remaining 0.1% of trust
distributions would be distributed to the Individual Beneficiary. The persons Defendants caused
to be designated as Individual Beneficiaries were all either relatives of Fife or employees of
affiliated companies.

138. As part of their scheme to hide from Lincoln the identity of these limited liability
company Participants, Defendants caused each of the amended and restated trust agreement for
the revocable trusts to contain two signature pages. The first signature page showed the
signature blocks of the trustee and the Individual Beneficiary. The second signature page
included only the signature block of the limited liability company that was serving as the
nominee Participant Beneficiary.

139. During Phase 3 of the scheme, whenever Lincoln required verification of the
identity of the beneficiary of the revocable trusts, Defendants caused only the first page of the
trust agreement and the signature page that included the Individual Beneficiary to be transmitted
to Lincoln, and did not otherwise disclose to Lincoln either that the Individual Beneficiary listed
on the signature page had only a miniscule beneficial interest in the trust or that the primary
beneficiary per the trust agreement was actually a limited liability company.

140. Defendants caused such limited and misleading documentation to be provided to
Lincoln in connection with at least the Qwest Revocable Trust and the Carter Revocable Trust.

141. Through their deceptive conduct, Defendants falsely represented to Lincoln that
the Individual Beneficiary was the primary beneficiary of the trusts, and concealed the fact that

the primary beneficiaries of the trusts were in reality limited liability companies.

29
 

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 30 of 34 PagelD #:30

142. As part of the scheme, and particularly during Phase 3, Defendants caused many
of the contracts to be purchased with initial purchase payments in relatively modest amounts
(under $50,000) in order to escape increased scrutiny. After Lincoln approved the contracts,
Defendants increased Clarion Capital’s investments in these contracts by hundreds of thousands
of dollars.

143. This deceptive initial funding included at least the following contracts: Elfman
Revocable Trust, Jones Revocable Trust, Irving Revocable Trust, Arthur Revocable Trust,
George Revocable Trust, Kent Revocable Trust, and Logan Revocable Trust.

144. As aresult of their deceptive conduct, Defendants were able to deceive Lincoln
and purchase in Phase 3 all of the contracts listed in the above chart and engage in market timing
trading in these contracts for the benefit of Clarion Capital.

145. All of the contracts purchased during Phase 3 were funded by Clarion Capital.

146. Onor around March 27, 2003, Fife and Clarion Management attempted to
purchase three more Lincoln contracts for the benefit of Clarion Capital, using previously unused
revocable trusts to disguise Clarion Capital’s beneficial interest.

147. Defendants caused the applications for these contracts to include the following

information concerning the owner, trustee and beneficiary:

 

 

 

 

 

Contract Owner Trustee
Date of Named in Named in Beneficiary Named in
Ref. No. Application Contract No. Application Application Application

41. Crimson

3/27/2003 XX-XXXXXXX Revocable Trust Danielle Gallet | Crimson Revocable Trust
42. Avalon

3/27/2003 92.9833717 Revocable Trust Danielle Gallet | Avalon Revocable Trust
43, Deville

3/27/2003 XX-XXXXXXX Revocable Trust Danielle Gallet | Deville Revocable Trust

 

 

 

 

 

 

148. These three trusts incorporated yet another variation of Defendants’ deceptive

scheme to purchase variable annuity contracts from Lincoln for the purpose of market timing, as

30

 
 

— tm mmm

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 31 of 34 PagelD #:31

they identified a person, Danielle Gallet, as the trustee for each of these trusts, rather than either
Clarion Management or any of the limited liability companies that Defendants had previously
used with the other revocable trusts.

149. Gallet, in reality, was Fife’s officer manager, and Fife controlled her at all times
relevant to the allegations in this Complaint.

150. As part of their continuing deception, Defendants designated yet another address
to be used for the contract owners: 8700 West Bryn Mawr Avenue, Suite 8055 South, Chicago,
Illinois 60631. Defendants’ purpose once again was to conceal Clarion Management's
continuing role in the contracts. Notwithstanding Defendants’ deceptive conduct, Lincoln
rejected the applications because it recognized Gallet to be a person associated with previous
contracts submitted by Defendants.

151. Although Lincoln blocked Defendants from purchasing any further contracts,
Defendants continued to engage in market timing in the existing contracts they had acquired
through deceptive means until restricted to submitting transfer by U.S. mail. On approximately
November 13, 2003, Defendants surrendered the last of the contracts that it had caused to be
purchased from Lincoln for the benefit of Clarion Capital. Clarion Capital was dissolved shortly
thereafter.

152. Defendants’ deceptive practices, as alleged above, were done knowingly and with
the intent to deceive Lincoln.

153. Defendants’ deceptive practices, as alleged above, were material.

31
 

Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 32 of 34 PagelD #:32

Fife and Clarion Management’s Profits and the Damages To
Other Shareholders from Their Misconduct

154. Through their deceptive scheme, Fife and Clarion Management made hundreds of
thousands of dollars for themselves and Clarion Capital. Even after Lincoin expressly informed
Defendants that Lincoln objected to their excessive market timing activity and began restricting
contracts that Defendants had purchased for Clarion Capital, Defendants did not cease their
market timing activity. Instead, Defendants used increasing layers of deception to continue their
professional market timing scheme for the benefit of Clarion Capital.

155. For the period from August 29, 2002 to November 13, 2003, Clarion Capital’s
profits from market timing in the variable annuity contracts purchased from Lincoln were at least
approximately $830,000, of which Clarion Management and Fife took at least approximately
$166,000 as a performance fee. Clarion Management and Fife also charged a management fee of
at least approximately $51,000 during this period, based on the value of Clarion Capital’s assets
invested in variable annuities purchased from Lincoln.

COUNT I

Violations of Section 10(b) of the Exchange Act [15 U.S.C. § 78j(b)]
and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5] by Fife and Clarion Management

156. Paragraphs 1 through 155 above are realleged and incorporated by reference.

157. As set forth more fully above in paragraphs 1] through 155, from August 29, 2002
through November 13, 2003, Fife and Clarion Management, directly and indirectly, in
connection with the purchase and sale of securities, by the use of the means and instrumentalities
of interstate commerce and by the use of the mails: (a) used and employed devices, schemes and
artifices to defraud; (b) made untrue statements of material fact and omitted to state material

facts necessary in order to make the statements made, in hght of the circumstances under which

32
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 33 of 34 PagelD #:33

they were made, not misleading; and (c) engaged in acts, practices and course of business which
operated or would have operated as a fraud and deceit upon purchasers and sellers and
prospective purchase and sellers of securities.

158. Defendants knew or were reckless in not knowing of the activities described in
paragraphs | through 155, above.

159. By reason of the foregoing, Fife and Clarion Management violated Section 10(b)
of the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5].

COUNT I

Control Person Liability Against Fife Pursuant to
Section 20(a) of the Exchange Act [15 U.S.C. § 78t(a)|

160. Paragraphs 1 through 159 are realleged and incorporated by reference.

161. Atall times relevant to the allegations in this Complaint, Fife controlled Clarion
Management.

162. By reason of the foregoing, and pursuant to Section 20(a) of the Exchange Act
[15 U.S.C. § 78t(a)], Fife is jointly and severally liable for Clarion Management’s violations of
Section 10(b) of the Exchange Act and Rule 10b-5 thereunder.

RELIEF REQUESTED

WHEREFORE, the SEC respectfully requests that this Court enter a judgment:

A. finding that Defendants violated Section 10(b) of the Exchange Act [15 U.S.C. §
78j(b)] and Rule 10b-5 thereunder [17 C.F.R. § 240.10b-5];

B. finding that Fife was a “control person” of Clarion Management for purposes of
Section 20(a) of the Exchange Act [15 U-S.C. § 78t(a)];

Cc. permanently enjoining Fife and Clarion Management from future violations of

Section 10(b) of the Exchange Act and Rule 10b-5 thereunder;

33
Case: 1:07-cv-00347 Document #: 1 Filed: 01/18/07 Page 34 of 34 PagelD #:34

D. ordering Fife and Clarion Management to pay disgorgement of ill-gotten gains,
plus prejudgment interest, either on a joint and several basis or independently;

E, ordering Fife to pay an appropriate third-tier civil monetary penalty pursuant to
Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3}];

F. retaining jurisdiction over this action to implement and carry out the terms of all
orders and decrees that may be entered; and

G, granting such other and additional relief as this Court deems just and proper.

Respectfully submitted,

. 4 ~
Steven J. Levine (

Illinois ARDC No. 6229621
Kenneth E. Yeadon

Hlinois ARDC No. 6273281
Linda T. feleja

Iinois ARDC No. 6204334

 

Attorneys for the Plaintiff

SECURITIES AND EXCHANGE COMMISSION
175 West Jackson Boulevard, Suite 900

Chicago, Illinois 60604

(312) 353-7390

DATED: January 18, 2007

34
